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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    MARK A. LIZARRAGA, Bar #186240
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    OSCAR REYES-CARDONA
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )               Case No. 1:04cr5284 OWW
                                           )
12                     Plaintiff,          )               STIPULATION TO CONTINUE STATUS
                                           )               CONFERENCE; AND ORDER THEREON
13         v.                              )
                                           )               DATE : August 22, 2006
14   OSCAR REYES-CARDONA,                  )               TIME : 9:00 a.m.
                                           )               DEPT : Hon. Oliver W. Wanger
15                     Defendant.          )
     _____________________________________ )
16
17          IT IS HEREBY STIPULATED by and between the parties hereto, and through their respective
18   attorneys of record herein, that the Status Conference hearing in the above captioned case, set for
19   July 18, 2006, may be continued to August 22, 2006 at 9:00 a.m.
20          The parties agree that the delay resulting from the continuance shall be excluded in the interests of
21   justice, including but not limited to, the need for the period of time set forth herein for effective defense
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23   ///
24   ///
25   ///
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                Case 1:04-cr-05284-LJO Document 55 Filed 07/17/06 Page 2 of 3


1    preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and 3161(h)(B)(iv).
2            DATED : July 13, 2006
3
                                                        McGREGOR W. SCOTT
4                                                       United States Attorney
5
6                                                       /s/ Laurel J. Montoya
                                                        LAUREL J. MONTOYA
7                                                       Assistant U.S. Attorney at Law
                                                        Attorney for Plaintiff
8
9            DATED: July 13, 2006                       DANIEL J. BRODERICK
                                                        Federal Defender
10
11
                                                        /s/ Mark A. Lizarraga
12                                                      MARK A. LIZARRAGA
                                                        Assistant Federal Defender
13                                                      Attorney for Defendant
14
15
                                                  O R D E R
16
             IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C. §§
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     3161(h)(8)(A) and 3161(h)(B)(iv).
18
             DATED: July _____, 2006
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     Stipulation to Continue Status Conference
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                Case 1:04-cr-05284-LJO Document 55 Filed 07/17/06 Page 3 of 3


1    IT IS SO ORDERED.
2    Dated: July 15, 2006                             /s/ Oliver W. Wanger
     emm0d6                                      UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue Status Conference
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